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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                Case No. 19-cv-22425-BLOOM/Louis

  CATALYST PHARMACEUTICALS
  INC.,

          Plaintiff,

  v.

  U.S. FOOD AND DRUG
  ADMINISTRATION, et al.,

        Defendants.
  _________________________________/

                                       ORDER UPON REMAND

          THIS CAUSE is before the Court upon the Mandate of the United States Court of Appeals

  for the Eleventh Circuit, ECF No. [117] (“Mandate”), vacating this Court’s grant of summary

  judgment in favor of Defendants1 and Intervenor-Defendant Jacobus Pharmaceutical Company,

  Inc. (“Intervenor-Defendant”), and remanding with instructions to grant summary judgment in

  favor of Plaintiff Catalyst Pharmaceuticals, Inc. (“Plaintiff”).

          Accordingly, it is ORDERED AND ADJUDGED as follows:

              1. The Court’s Order, ECF No. [107], denying summary judgment in favor of Plaintiff

                  and granting summary judgment in favor of Defendants and Intervenor-Defendant,

                  is VACATED.

              2. As directed by the United States Court of Appeals for the Eleventh Circuit,

                  summary judgment is GRANTED in favor of Plaintiff.




  1
   Defendants consist of (1) the United States Department of Health and Human Services; (2) Xavier Becerra,
  Secretary of Health and Human Services; (3) the United States Food and Drug Administration; and (4)
  Janet Woodcock, Acting Commissioner of the Food and Drug Administration. See ECF No. [117] at 4 n.1.
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                                                    Case No. 19-cv-22425-BLOOM/Louis


         DONE AND ORDERED in Chambers at Miami, Florida, on January 31, 2022.




                                                 _________________________________
                                                 BETH BLOOM
                                                 UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record




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